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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                           The Honorable Cathleen D. Parker
In re:
                                          )
ROBERT JOSEPH BOWERS,                     )     Case No.: 17-15526-CDP
SSN: XXX-XX-5265,                         )
                                          )     Chapter 7
Debtor.                                   )
______________________________________________________________________________

    MOTION FOR AUTHORIZATION TO CONDUCT EXAMINATIONS AND TO
COMPEL PRODUCTION OF DOCUMENTS PURSUANT TO FED. R. BANKR. P. 2004,
                    9016, L.B.R. 2004-1 AND FED. R. CIV. P. 45
______________________________________________________________________________

       BDG International, Inc. (“BDG”), by and through their counsel Harvey L. Kramer of
Kramer Law LLC, hereby submits its Motion for Authorization to Conduct Examinations and to
Compel Production of Documents pursuant to Fed. R. Bankr. P. 2004, 9016, L.B.R. 2004-1 and
Fed. R. Civ. P. 45 as follows.

       1.     Robert J. Bowers (“Bob Bowers”) filed his Chapter 7 Bankruptcy Petition on June
14, 2017.

       2.      BDG holds a judgment in the amount of $214,187.11 against Bob Bowers and
Auxiliary Graphic Equipment, Inc. (“Auxiliary”) entered on July 20, 2011 in El Paso District
Court Case No. 10CV1704 (“Judgment”). No payments have been made on the Judgment.
Likewise, Bob Bowers is indebted to other creditors for an additional $300,000. These debts
were all incurred prior to September 2012.

        3.     Prior to entry of Judgment, Bob Bowers and Judith Bowers constructed a
residence at 1439 County Road 111, Florissant, Colorado 80816 (“Residence”). They financed
construction through a jointly executed Note and Deed to Park State Bank & Trust in the original
principal amount of $741,000. The monthly payment is approximately $4,200 and the loan is not
in default.

        4.     On March 10, 2013, Bob Bowers quit claimed the Residence to his then wife,
Judith Bowers. He continued to live at the Residence. He was insolvent. There appears to be no
valid consideration for the transfer.

       5.      Bob Bowers specializes in selling and brokering the sale of high end printing
presses and at various times has conducted business through Auxiliary Graphics, Inc., Skyline
Graphics Services, LLC, Hall Contracting Services, Inc., and JEB Holdings, LLC

         6.   After entry of the Judgment, Bob Bowers continued to sell and broker printing
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presses through JEB Holdings (“JEB”) and Hall Contracting Services, Inc. (“HCS”), but made
Judith Bowers the alleged owner. By doing so, Bob Bowers generated, controlled and benefitted
from income outside the reach of creditors. See In Re Mclean, 498 B.R. 525 (Bankr. D. Md.
2013) (holding for avoidance and liability for the fraudulent transfer of income through shell
entity scheme using spouse).

       7.     As observed by the family’s accountant: “Bob does all the work but not an
owner and no W-2. Advised to pay him for 2014!” See Notes, attached as “Exhibit 1.” Judith
Bowers has admitted she has “no expertise in selling or brokering high end printing presses.”
See Answer to Amended Complaint, at ¶ 7, Teller District Court Case No. 16CV (March 9,
2017) (“Fraudulent Transfer Action”).

        8.     Bob Bowers signed contracts as “President” for JEB completed using HCS
Equipment and employees. See Contracts, attached as “Exhibit 2” (including reference to HCS).
Based upon information provide by Richard Palmer, a minority shareholder of HCS, Bob
Bowers stole the ownership of HCS, put the stock in his wife’s name, and liquidated millions in
assets, and completed contracts with HCS equipment and employees. At the same time, minority
shareholders receiving nothing.

       9.       The Verified Complaint filed by the minority shareholders of Hall Contracting
Services, Inc., on October 30, 2013, and related documents (“HCS Complaint”) establishes that
Bob Bowers retained ownership and control over HCS. See HCS Complaint, attached as
“Exhibit 3.”

      10.    The HCS Complaint makes the following allegations under oath regarding Bob
Bowers’ ownership and control of HCS.

   •   As of January 1, 2007, Bob Bowers owned 31.481% of Hall Contracting. See HCS
       Complaint, at ¶ 9, attached as “Exhibit 3.”
   •   On July 30, 2012, fellow shareholder “MacKenzie admitted ….there was a plan in
       discussion among Hall, [Bob Bowers] and MacKenzie (a) defendant Hall and McKenzie
       would sell their shares to Bowers (b) defendant Bowers would take control of HCS; (c)
       defendant Bowers would use HCS’ assets and/or credit line to pay defendant Hall and
       MacKenzie for their shares, and (d) Bowers would then liquidated HCS.” See HCS
       Complaint, at ¶ 25, attached as “Exhibit 3.”
   •   “On September 17, 2012, defendant Bowers appeared at the offices of HCS and declared
       that he had acquired the shares of the Corporation previously held by Hall and
       McKenzie and that he was now in control of the Corporation.” See HSC Complaint,
       at ¶ 33 (emphasis added), attached as “Exhibit 3.”
   •   On September 17, 2013, Bowers declared himself to be Chairman and CEO of HCS
       without holding a shareholder meeting. See HSC Complaint, at ¶ 33, attached as
       “Exhibit 3.”

      11.    Bob Bowers continues to hold himself out to the public as the CEO and President
of HCS. See Linkedin Profile (June 13, 2017), attached as “Exhibit 4.”


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        12.    Bob Bowers was a signatory on the HCS Bank Account signing checks on that
account within a year of the Petition Date, and transferring funds to JEB for payment of his
living expenses, and to otherwise control of his income outside the reach of creditors.

        13.    Bob Bowers, as President and CEO of HCS, managed and supervised tax filings.
See Emails, attached as “Exhibit 5.” In emails with the corporate and personal accountant, Bob
Bowers acknowledged full payoff of his 2010 Mercedes, and the payment of his life insurance
and car insurance through companies from which he received no income subject to attachment,
and claimed no ownership. The 2010 Mercedes appears free and clear, and is not disclosed in
the Bankruptcy Schedules. The accountant for Bob Bowers, Judith Bowers and the associated
entities is Samantha Kelley.

       14.    With income generated from HCS and JEB, Bob Bowers paid for his 2010
Mercedes, two Dodge trucks titled in his name and financed with Public Service Credit Union, a
$24,000 car gifted to his daughter, Samantha Bowers (cash purchase 2014), a $21,000 Harley
Davidson for Judith Bowers (cash purchase August 2015), a $30,000 legal retainer for his son
Joshua Bowers, trips to and payment for his Cabo San Lucas penthouse time share, his AMEX
and Cabela’s Visa Credit Cards, payment of insurance to State Farm for numerous vehicles, the
debt secured by the Residence, and generally provided income for he, his wife and family. Bob
Bowers paid his attorney, Professor Thomas Russel, from the JEB Chase Account. Mr. Russell
attempted unsuccessfully to prevent post judgment discovery regarding the Judgment. The Cabo
San Lucas penthouse timeshare is disclosed, but not value is provided in the Bankruptcy
Schedules.

        15.    Alethea Chorey has a child named Rudy with Jason Bowers. Ms. Chorey has
visited the Residence, and is estranged from Jason Bowers. During January 2017, she stated Bob
Bowers oversaw and provided for the family’s financial affairs. She was clear that behind closed
doors, Bob Bowers acts like he is financially successful. In contrast, Bob Bowers’ Statement of
Financial Affairs and Schedules reveal no assets or appreciable income.

        16.    Bob Bowers’ Statement of Financial Affairs and Bankruptcy Schedules do not
provide disclosure regarding the HCS Litigation, or the liquidation, dissipation and distribution
from the HCS business and liquidation, his signatory authority on the HCS bank account, or his
position as CEO of HCS.

        17.    During November 2016, BDG served Judith Bowers with a Writ of Garnishment
for Bob Bowers. Judith Bowers denied liability. BDG traversed the Answer. The Traverse was
set for an evidentiary hearing on March 29, 2017. Subsequently, BDG served Judith Bowers’
with Subpoenas for Production and to appear for depositions and for the Traverse Hearing.
Judith Bowers never appeared for her deposition and has never appeared for examination under
oath.

       18.     On November 16, 2016, BDG filed its Complaint against Judith Bowers for the
fraudulent transfer of the Residence and regarding fraudulent transfers of Bob Bower’s income.



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Arthur Lindquist Kleissler, Esq. filed an Answer. Judith Bowers provided an Employment and
Transfer Agreement claiming to have owed and paid Bob Bowers $200,000 for quit claiming the
Residence. She also claimed that payments made on Bob Bower’s AMEX for expenses of her
alleged companies (JEB and HCS) and for commissions Bob Bowers earned for her companies
somehow also paid off the $200,000. See Employment and Transfer Agreement, attached as
“Exhibit 6.” BDG supplemented its Traverse alleging entitlement to a judgment against Judith
Bowers for the $200,000 owed to Bob Bowers, and that remained unpaid under the Employment
and Transfer Agreement. The Bankruptcy filing prevented resolution of the pending Traverse.

        19.     On January 11, 2017, Judith Bowers filed a Petition for Dissolution of Marriage
in Teller County District Court Case No. 17DR30001 (“Divorce Action”). The Petition alleged
under oath that Judith and Bob Bowers ceased “to live together as husband and wife in 2012”
and that Bob Bowers’ address was “6224 Hidden Hickory Circle, Colorado Springs, CO 80927.”
See Petition, attached as “Exhibit 7.”

       20.    On January 13, 2017, Bob Bowers executed a Waiver of Service for the Divorce
Action before a notary claiming and put down 1439 CR 111 Florissant, CO 80816 as his address.
The Waiver of Service was notarized in Teller County. See Waiver, attached as “Exhibit 8.”

       21.    On January 31, 2017, undersigned and Judith Bowers’ counsel submitted a joint
proposed Case Management Order in the Fraudulent Transfer Action (“CMO”).

        22.      At the Case Management Conference, the Court directed counsel to put together a
hand-written List of Documents that undersigned contended constituted required disclosures.
The List of Documents included: corporate governance documents, contracts, insurance policies,
certificates of title for vehicles, tax returns and accounting records, and information related to the
transfer of $50,000 from RSB Holdings, LLC (“RSB”) to the LEGG Mason Account with Rudy
Bowers, the beneficiary. Judith Bowers refused to disclose documents. Opposing counsel
claimed the initial Complaint was not sufficiently detailed. He could not convince Judith
Bowers to cooperate.

       23.     On February 16, 2017, BDG filed a Status Report and Amended Complaint.
BDG documented its good faith attempt to make reasonable inquiry and continuing requests for
disclosure and transparency.

        24.     The Amended Complaint alleged fraudulent transfers against Judith Bowers, and
her children, and her grandchild Rudy Sky Bowers regarding the $50,000 transfer from RSB to a
LEGG Mason Account, and regarding Bob Bower’s interest in various entities in which he
appears to retain an interest, including, but not limited to, Western Colorado Energy, LLC.

        25.    Western Colorado Energy, LLC (“WCE”) appears to have owned mineral rights
located in Colorado. Bob Bowers holds himself out as being part of WCE at its main office in
Florissant, Colorado, and appears to have retained or still retains an interest in WCE. See
Website Printout and Email dated January 27, 2016, attached as “Exhibit 9” (“I gave my parents
part of my company in the past to help me. Since I own 100% now I pay them a consulting



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fee”). No disclosure is made regarding Bob Bowers’ relationship with WCE in the Statement of
Financial Affairs or Schedules. Jason Bowers is the purported sole owner of WCE. WCE
appears to have transferred all or substantially all of its assets to Rudy’s Holding Company, LLC
immediately after BDG served a Writ of Garnishment on WCE for Bob Bowers during
November 2016.

       26.    On February 23 and 27, 2017, William H. Moller and Kristen R. Jones substituted
as counsel and entered their appearance in the Judgment and Fraudulent Transfer Actions. On
the eve of the Traverse Hearing (March 29, 2017), Kristen Jones informed undersigned that
Judith Bowers was attending a funeral. By mutual consent, the parties rescheduled the Traverse
Hearing for June 23, 2017. Then, William H. Moller and Kristen R. Jones immediately
withdrew.

        27.    The Bowers finalized their Divorce During May 2017. Prior to filing for
Bankruptcy, Bob Bowers refused to produce financial documents disclosed as part of the
Divorce Action in response to Interrogatories served by BDG. Bob Bowers signed his
Interrogatory Responses before a Notary in Teller County on June 1, 2017.

       28.    In his Statement of Financial Affairs and Bankruptcy Petition, Bob Bowers claims
to have moved to 1501 Stover Street, Fort Collins, Colorado 80524 during January 2017 (“Stover
Property”). The former or present tenant of the Stover Property is Jennifer Beshore.

        29.      On March 20, 2017, Bob Bowers transferred a 2005 Dodge Truck to Jason
Bowers, as a “Gift.” Public Service Credit Union was the former lienholder on the vehicle, and
released its lien on May 29, 2013. See Certificate of Title, attached as “Exhibit 10.” This transfer
is not disclosed in the Statement of Financial Affairs.

        30.     On April 3, 2017, Bob Bowers transferred a 2006 Dodge Truck to Joshua Bowers,
for $0. Public Service Credit Union was the former lienholder on the vehicle, and released its
lien on May 29, 2013. See Certificate of Title, attached as “Exhibit 11.” This transfer is not
disclosed in the Statement of Financial Affairs

        31.    Based on information discovered by BDG, Judith Bowers does not have steady
employment and has primarily paid her expenses from income generated by Bob Bowers, or
through the liquidation of HCS. The Deed of Trust on the Residence with a monthly payment of
approximately $4,200 is not in default, and the loan secured by the Stover Property appears
current as well. At the same time, Bob Bowers shows little or no income, and has failed to
disclose any specifics on the sources of his income. On information and belief, Bob and Judy
Bowers continue to cooperate and work together to conceal funds for the payment of the loan
secured by the Residence and payment of their living expenses. In the past, Bob and Judy
Bowers have concealed and transferred funds through accounts with JP Morgan Chase Bank,
N.A. and ENT Federal Credit Union.

      32.   On June 16, 2017, undersigned counsel, Judith and Bob Bowers appeared for a
Case Management Conference. The Bowers’ Children did not appear. Prior to the Conference,



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the Teller County Sheriff served Bob Bowers with a Subpoena to appear at the continued
Traverse Hearing and to produce documents. After the parties had discussed trial dates, Bob
Bowers disclosed his Chapter 7 Bankruptcy. No explanation was given as to why notice of the
Bankruptcy was not provided in advance of the hearing. With little or no income, it appears that
Bob Bowers elected to drive three hours each way from Fort Collins to attend a hearing stayed
by the Bankruptcy filing. On information and belief, Bob Bowers still resides at the Residence
and the Divorce Action was filed to avoid the pending Fraudulent Transfer claims even though
BDG had recorded a Lis Pendens on the Residence, and Judith Bowers is not a good faith
transferee.

        33.    In order to accurately determine Bob Bowers’ financial condition and investigate
issues related to potential assets of the Bankruptcy Estate, and Bob Bowers’ entitlement to
discharge, BDG respectfully requests authorization to examine the following individuals and
entities (“Deponents”) and for authorization to issue subpoenas to compel Deponents to attend
examinations and produce documents pursuant to Fed. R. Bankr. P. 2004, 9016, L.B.R. 2004-1 and
Fed. R. Civ. P. 45:

              •   Robert J. Bowers

              •   Judith Bowers

              •   Jason Bowers

              •   Joshua Bowers

              •   Samantha Bowers

              •   Jennifer Beshore

              •   Alethea Chorey

              •   Park State Bank and Trust

              •   Public Service Credit Union

              •   State Farm Insurance

              •   American Express

              •   Western Colorado Energy, LLC

              •   RSB Holdings, LLC

              •   Rudy’s Holding Company, LLC



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              •   JP Morgan Chase Bank, N.A.

              •   ENT Federal Credit Union

              •   Samantha Kelley

       WHEREFORE, BDG respectfully requests that this Court enter an Order authorizing the
Trustee to examine the Deponents pursuant to Fed. R. Bankr. P. 2004, 9016, L.B.R. 2004-1 and
Fed. R. Civ. P. 45, and authorizing the Trustee to issue subpoenas to compel Deponents to attend
depositions and produce documents pursuant to Fed. R. Bankr. P. 2004, 9016, L.B.R. 2004-1 and
Fed. R. Civ. P. 45.

                      Dated this 10th day of August 2017.

                                    KRAMER LAW LLC

                                    /S/ Harvey L. Kramer
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                               CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of August 2017, I sent the MOTION FOR
AUTHORIZATION TO CONDUCT EXAMINATIONS AND TO COMPEL
PRODUCTION OF DOCUMENTS PURSUANT TO FED. R. BANKR. P. 2004, 9016,
L.B.R. 2004-1 AND FED. R. CIV. P. 45 to the following via first-class U.S. Mail postage
prepaid:

Robert Joseph Bowers
1501 Stover Street
Fort Collins, Colorado 80524

Sean Cloyes
1159 Delaware Street
Denver, CO 80204

Daniel A. Hepner
950 Spruce Street
Ste., 1C
Louisville, CO 80027

US Trustee
Byron G Rogers Federal Building
1961 Stout Street
Ste. 12-200
Denver, CO 80294

                                              /S/ Kelsey Hester
                                              Kelsey Hester




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